
62 N.Y.2d 828 (1984)
John H. Fiske et al., Respondents,
v.
William D. Fiske et al., Appellants.
Court of Appeals of the State of New York.
Argued May 1, 1984.
Decided June 5, 1984.
Robert L. Abrams for appellants.
David V. Needleman for respondents.
Concur: Chief Judge COOKE and Judges JASEN, JONES, WACHTLER, MEYER, SIMONS and KAYE.
Order affirmed, with costs. The weight of the evidence more nearly comports with the findings of the Appellate Division. In addition, we agree with that court that the oral agreement was enforceable in this instance to the extent specified in the Appellate Division decision.
